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:Unlted_$tates At£o1ney

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_ _W_ _ - ' »§NITED:§TATES DISTRI§T“§§URT~=

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. FOR THE §§NTRAL D:sTRI§T 01 §ALI QRNIA

13 i§NITED.STATES 01 AMERICA;_ 5 CR No 08- `0_0295- §HK _

-.14 1 ` , _ ` _ ) s\“w&r§di§
. _ ' P1aln11ff, ) PL§A A§REEMENT FOR DEF§NDANT'

15 - _ ' ' '- " } FRAN§IS§G ANDR£S FRAN§IS§O

` V. .

16 ;FRANCISCO AN§R§S-FRAN§IS§O

,25 HENRY'RO§RIGUEZ=SAN§HSZ,
-ANIBAL FRAN§IS§§, and

)
)
n 3
-lj . _} aka “Chico," _ )
FRANC;sco-AN§R§S~§§§RO, )
'18- aka “Samuel Lopez, " )
_ FRANCISCO P-EDRO FRANCISCO,- }
19 `ELVIRA BARTOLO SEBASTIAN, }
- JUANA DOM-INGO JUAN, )
.2@ ' aka “Marga11ta Ellzabeth )
Fran§isco, )
_21 ANGEL GONZALEZ PEL:IGO )
`_ _ _ aka “Juan Ramos¢Gonzalez ” )
'22, §ILBBRTO_FRAN§;$§C- LOR§N§O ' )
aka YZOIrO,” )
23` `aka “Juan Francis§o }
_- DE}.C!adO, " - )
24 _JUAN JIMENEZ- PASCUAL )
ISAIAS VASQUEZ MENBOZA, )
` aka “Escorpin," )
)
26 r_ _ y )
_LUIS'LOPEZ*MONCHO, _ _ )

37 aka “Luis Casta§§daj” }
“ ~- 'aka “Daniel Juan-Ya§§ual," )
` )

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93 ff , meisn§;nts.

 

 

 

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'aS€ 2208¢Cr-00295-GHK DOCUm€n'[ 164 Filed 10/28/08 Page 2 Of 16 Page |D #2625 n

'11 This constitutes the plea agreemen§ between FRAN§1S§O
j R£S FRANC1S§O (“defendant”) and the Uni§ed States A§§orney s

'Office for the Central District of §alifoznia (“§he USA§”) in the

4 above captioned case 1his agreemen§ is limi§ed to the USAO and

5 cannot bind any other federal state or_local prosecuting,

6_administrative or regulatory_au§hori§ies.

7 ` _ - -. PLRA"- n
_8 ; _ 2, Defendant agrees to ple ad guilty §o eoun§ one

'9 of the indictment in United Sta§es v. Francisco Andres Franciseo

._19_¢¢1:.._"31 ca No.. 08 00295-;€;1§1<.

il NATURE OF 'I’HE »OFFENSE
12 3. In order for defendant to be guilty of th-e single count
13I1ndictment which charges a violation of Title 8 §ni§ed Sta§es
nl&i§ode, Section 1324(a){1)(A1(V)(I), the follow1n§:m§s§ be_§;§e;

15 11} beginning on_an unknown date and cont1nving until en'or abeut_
.1§ february 21, ZGGB,¢defendaa§ agreed with one er more persons to
17 knowingly_conceal harbor, or s-hield from det§ ect1on illegal
13~al1ens, or to transport or move illegal al1ens wi thin the Uni§ed
JB-States; and (2) def e ndant became a member of the conspiracy
_éd_knowing of its object and intending to help accomplish i§
21 Defendant admits that de£endant is, in fac§, guilty o£-this

22 offense as described in'the indictment.

23 f §§B&§Il§§
24 ' 4. The s§a§utoxy maximum sentence that the §our§ can imPoee

 

QS,for'a.violation of Title 81 United States'€ode, Se§§i©n

  
  

35 1324{3)}1)(A)(V}(1), isp 10 years imprisonmen§; a three~year

271 eriod of supervised §elease; a fine of $QS§QOOO or §wice_§her

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grass gain er grossiloas resulting fr¢m*the-Oifanse, whzchever is
§ieatast; and a mandatory s@ecia§_assessment of $lGO; j
5.' Sapervised'reléase iada period of time iollowihg
imprisonmant during whi§h defendant will be aubject to §aribus'
restrictions.andirequirements;_ Dafandant-undezstanda that'if'
§efendant violates one or moae of the ¢on§iticns of any
satp`ervised telease'imp¢aed? defendant may be returned to Yziaon'
for.all or part_of the term Of supervisad:relea€a, which ppulda
#tesalt in defendaht aarving a total térm;of'impxisonment g£eater‘-
than`the atatutory maxima§ stated above; l l 1 g
6; Defendant_al$c andeastands-that,`byf§Leadihg-§uiltyl\n
défendant may Be_giving ap valuable_govérnment Senéfits and
valuable civic right$,`such as the right to vote, the zi§ht-to
posse$a a firearm, the right to hold offica, and the tight to_
Serva on a jury. l l l l c
F7. Defendant further understands that the=ccnviction~in_
.thi$ case may Subject da£enaant to various §ollaaa;al:
consaqaentes, including but not limited ta“dep©rtation,
revocation of probation,-§arole,-ox Supervi£ed.aelaasa in anbthaf_
tase, and Suspansion or_revacation Ofua:profeséional`licenaa;
Defendant understands that unanticipated-soliat&ral ccnsequeneés
Will hat Sérve as grounds to withdraw defeadant’e guilty plea.
FACTUAL.BASIS n ` 7
'8. Defanéant and the USAC agree "ad Sti@ulate to`tha
statement of facts provided belcw. This Statement of facts'is
sufficient to Support a plea of guilty to.the tharge dasc;ibed in

Lthis-agreemant and to establish the Santancin§ guiéalinetfact©rs

 

set forth in-paragraph 11 balcw. lt is not meant to be_a

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HJimenea-Pa$€ual, lsaias Vasquez~Mendoza,-Henry Rodrigdez+£anehez;a¥

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`complete recitation of all facts relevant to the underlying

`criminal ¢onduct or all facts known to either §arty that relate

to that`conduct.

` _Beginning on a date unknown, and continuing te at least
Febrdary 27; 2098, in.Los Angeles County, within the'Cent§al
District of California and elsewhere defendant conspired anda
agreed with Francisco Andres Pedro, Francisco Pedro- Franeise o,

Elvira Bartolo- Sébastian,rduana Domingo- Juan, Angel

|Gonzalez Pelicd, Gilberto Franciseo- Lore nzo Juan

Anibal Francisco Luis.Lopez-Monchd, and others., to‘{l) transport

_22 or move one or more aliens within the United States for

“commercial advantage and private financial gain, knowing and.in
reckless disregard of the fact that each alien had`anlawfully ja
some to; entered, or remained in the United States; and (2)
COHC€El.-harb©r, Or`shiélé from`detection one or more aliens in

the United States for the §urpdse of commercial advantage and

'private financial gain, knowing and in reckless disregard of the

fact tnat each alien had unlawfully_come to, entered, or remained -
in the United States, 1
Defendant would direct and oversee the extensive alien _
transporting and harboring activities by making arrangements aith __
his co~Conspirators to transport illegal aliens Unlawtully l l
smuggled into the United*§tates from Mexico, Central America, and
South Anerica from “drop houses,” i.e., houses-or similar

dwellings Where the smuggled'aliens would be kept and hidden inom`
law enforcement authorities while in transit in the Phoenix,a

Arizona, vicinity to drep houses in the Los Angeles Cali£ornia,

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_Case _2:08-cr-00295-GHK Document 164 Filed 10/2_8/08 Page 5 of 16 Page |D #:62‘

1 vicinity _

2 ; . De£endant and his co-conspirators maintained drop houses in"
3 and around Los Angeles, California, witnin-the Central-District
of California. On at least 24 separate instances between danuaryi
15 17, 2005,.and'$ay 4, 2005,`defendant-and his coagonspirators 4 l
S.harbored and concealed at least 512 smuggled aliens in such drop
'7- houses - l l
8 7 .Defendant recruited and hired drivers'and provided vehicles-z
9 to transport smuggled illegal aliens from the drop_houses in the
10 nos Angeles, California, vicinity to their final destinations -
'1i_across_the United States. l

'12 Defendant and his co¥conspirators wonld_arrange dor the 4

13 smuggled illegal aliens and/or “sponsors,” i.e., §riends,b"

14 enployers, or family members who pay for the alien to be
l5wsmuggled, to pay smuggling and transportation fees while_tee

16 smuggled illegal aliens-were concealed in drop_houses in the Los'
17§Angeles,.€alifornia vicinity,_and arranged for-such fees to-be
18 directly deposited into-bank accounts owned.and controlled by
' 19 safeway-iti- n w '

20 'In carrying out_this coaspiracy, defendant, the_leader of

21 the organization, and his'co¢oonspirators,acommitted, or caused

 

22 to be-committed, the following acts, among others:

23 a) On or about duly 8, 2004,_defendant and his oo-:

   
  
 

24 conspirators harbored and concealed illegal alien Raquel`L. in a

25 drop house in Los Angeles,_€alifornia. ron or'about July 8,_26@4,

26 defendant-and his co-conspirators arranged-ior`the purchase ofoa

27 plane ticket to Nashville, Tennessee, for_Raqael L.
28 b) On or about_April 4, 2005, de£endant's

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16 or about april 8a 2605l de§endant'and his co-conspirators

17 arranged_for-tbe_purcbase of¢a plane ticket to Philadelphia,

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'co¢conspirators instructed Jose A. to'deposit $l,l$@ into

ndefendant's bank account to.pay nor the smuggling and
transportation fees for dose Ai‘s brother; Juan C, an illegal
alien. _ _-

' _c) on-Qr about April 8, 2005,-at the request of

defendant's co~conspirators, Nelson V. deposited'$3,734 into

'hdefendant's.bank_acoount to pay for the smuggling and

transportation fees for his brother,\Mario V., an illegal.alienm
bn or about april 16, 2005, defendant and nis co»oonspiraeors
,purchased a plane ticket to nostonr Massaohusetts, for`MarioiV.
and transported Marionv. to the airport; l _ l l
d) On or about april 8, ZOOSj-de£endant and_his\co»r
conspirators instructed Jorge M. to_deposit $2,300 into

defendant’s bank account to-pay.for-the smuggling and

Pennsylvania, for`Jnan P. and transported doan-P, to the airporti}a

ej on or about May-§; 2005, defendant and order eoé
conspirators harbored and concealed approainately 88 illegal_
aliens in a'house located on 59th Street in'Los-Angeles}
California§ n n n

f) On or about August 4, 2065,-eefendant provided bis…~~
1998 Cbevrolet Astrovan,<California'license §late'number SLlarssy
to co»defendant Angel'Gonzalez»Pelico in_onder to transports d
illegal aliens from Los Angeles,`€alifornia, to various.cities`:
across tha_Unitea states.';on br about augast_a,'zocs, ao¢, -"

defendant Gonzalez transported nine illegal aliens from Los

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transportation fees for his nncle, Juan.P.,`an`illegal~alieni'»on . '

 

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.l?;California approximately 12 alien smuggling ledgers {“pollo_=-

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{*Case 2:08-cr-00295-GHK Document 164 Filed 10/28/08 Page?O_f 16 Page|D-#:63 '

nngelesl California, to Dag§et, California, in»defendant's1

Chevrolet Astrovan.
`g)_On'or_about_§annary'4, 2008, defendant transported

approximately lG`illegal aliens in his blue Toyota Sienna

-qminivan; California license plate number SZNROSQ, from Los

'Angeles; California, to Centre County, Yennsylvania.

h) In furtherance of the conspiracy, on-or about Suly j"

§ 2007: while driving 10 il legal aliens in co defendant

51 "

Bartolo’ s Toyota Sienna minivan that was re gistered to

 

defendant s residence_@n.£&$t 24th Street, Los_Angeles,-CA, oo§

 

defendant Jimenez rolled tne'minivan into the*median.causing»co<-
defendant dinenez and the 10 illegal aliens to be ejected fnom
the minivan, some of whom suffered serious bodily injurie s,i l
including, but not lim1ted to cerebral hemorrhaging. n

i) On or about February 27, 2088, defendant_'

possessed in his “San Francisco 93`Cent Store” in Los Angeles,

£books") documenting the narboring and transporting of 4, 958

 

Mllegal aliens, and at least 20 different oorresoonoing drivers
who were hired to transport the aliens. n

7 j) On or about February 27, 2008, defendant possessed3 4
in his residential home on East 24th Street, Los Angeles,' n
California, approximately four pollo books, documenting the
harboring and transporting-of over 1,608 illegal aliens. '

WAIVER ' OF a'\'i'iCJli‘S"l"l TUT I=ONAL " RIGHTS
9..'By-pleading guilty,_defendant gives up the followingf¥

rights _:' n - n
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'“) The right eo f`rsist in a plea-of'not uiltv;
as __ 94

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nb)-The)right-to a_speedy and public trial by jury.*
c) The_rignt to the`assistance%of'legal counsel at
trial, including the right to have the Court appoint counsel for

=defendant for the purpose of representation at trial. {In this

tregard defendant understands that, despite his plea'of guilty}

: he retains tne right to be represented by counsel »~ and if

necessaryr to have.the court appoint counsel ifedefendant:eannot“
1afford counsel »- at every other stage of the prooeeding.)

1 dj-The rignt to be presumed innocent and to have the
burden of proof placed on the government to prove defendant 7
guilty beyond a reasonable doubt.

€) The right to confront and cross»exanine`witnessesd
against defendant.

-Hf) The rignt, if defendant nished -to testify on
defendant s own behalf and pr esent evidence in opposition no the
cnarges, including the right to call witnesses and to subpoena --
those nitnesses to testify.

795 fha right not to be compelled to7testify, and, if
defendant chose not to testify or present evidence, to have that f
choice not be used against defendant- n
By pleading guilty, defendant also gives up any and all
rights to parade any affirmative defenses, Fouren nmendmene or
Fifth Amendment claims, and other pretrial motions that have`%een*f
filed er could be §iled. '

ssnrsz_~icine FA~CToas
lO. rDefendant understands that the Court is'required eov
consider tne factors set forth in 18 U.S.£. § 35£3(a}{l)»(7),

'including ana kinds of sentence and sentencing range established

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The USAO will agree to a downward adjustment nor acceptance of

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' _ ass 2:08-c_r-00295-GHK Document 164 Filed_10/28/08 Page 9 of 16 Page |D-#:632; `

index the United`§tates Sentencing Goidelines`(”U.S.SsG~f or

“Sentencin'g-Gnideli`nes`")f in determining defendant‘s sentence:

.Defendant further understands that the Sentencing Guidelines are

'7advisory only, and that after considering the Sentencing

Guidelines and the otner § 3553{a) factors  the Court may be free l

to exercise its discretion to impose any reasonable sente nce'up

`to the maximum set by statute for the crime of conviction.

`11. Defendanc`ana the Usao'agree7and'stlpulate7to the
following applicable Sentencing Guidelines facoors:
ease offense naval -¢ o 12 '_ {n.s.soo; §_211.1<a){3)]

Transporting more _ .
than 100 Aliens : +9 . 7iv.s,sao,_§ q _
-- 211.11®)42)(€)}

Resulted'in Serioas

 

_asa¢ly lnjury =- , _ +4 _ is.s.s;s§ § 211 1<s){7ll_
Leadersnip Role 71 ;' +4 r' {U.S.Slo. §_BBl.l{a)l
Acceptance of . . - n
Responsibility : -7 '-3 {U.S;SIG; §§El.l]
`Total'Offense Level ; _ l 26

responsibility (and, if applicable, move for an.additional Level'
under § 3E1.l£b}) only if the conditions set forth in.@aragrapn'
15 are met. Subject to paragraph 14, defendant and the`USaO
agree not to seek argne, or suggest in any way} either orally or
in writing, that any other specific offense cnaracterisths,
adjustments or departures, relating to either the;applioable-
Cffense Level or the CriminallHistory Category, be imposed. Ir,
however, after signing this agreement but pracr-to sentencing, n

defendant were to commit an aot, or the USAG mate to discover a

 

 

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previously endiscovered act com@it£ed.by defendaht prior to
Signing this a§feement, which att, in the judgmeet of the-USAO}o
-constituted obstruction of justi¢e withih Lhe meaning of U.S.S¢G.
§ 3€1.1, the USAO would be free to Seek_the.enhancement set-forthr-n
ih that.eegtion; .Defendant also understands {hat~@e£endant'e
base Offense¢levei-coold be increased if-defenda§; is a cameer'
offender under U.S.S.G. §§ §Bl.l and 431.2. In £he even£ t§at
»aefendant£e offense level ie so altered, the.parties are noe

hound by the base offense {or'aéjusteé oifense) level'etipelated

to above.
12! There is no agreement as to defendan£¥S-Qriminal
history or criminal history category.

235 Defehdant add the USAO also agree and etipulate that}

faking_into_aecohnt the factors listed in 18 U.S¢C. § 3553(&)(1)¥:
(7), the relevant Sentencinnguide§inee e§§ective on Apri§ 71
2608, repfeseht a reasonable basis ior the Court-%o determise
voefenoenf‘s eentence in thie Ceee, and agree that-defendant
ehould be Se#tenced in accordance with the Sentencing¢@o$delines;
-Therefore, sobject to paragraph 14, defenoant and the USA© agree
not to_eeek,jargue, or Suggest in any wey¢ ei{her orally or im
writing, that the Court (a) not follow the Sentencingwsoiéelines
in imposing.eentence; {b) impose a eentence not ih aooordehce
with the Sentencing Guidelines; or {c) impose a.eehtemce ouiei§e

the sentencing range §or the to£al offense Level stipula£ed §o`

above.
34. 'The`$tipulations in this agreement éo-not bind either
the Uniteé State$ onbati n Office or {he Cou;t. Both defendant!

end the USAO are free to: ia) Supplement the fec{s by supplying

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#ase 2:08-cr-00295-GHK Document 164 Filed 10/28/08 Page 11 of 16 Page |D #:634

relevant information to the United States Probation'@ffice and
the Court, {b)~correct any and all factual misstaeements relating
to the calculation of the sentence,-and (c} argue on appeal and
collateral review that the'€oart’s Senteneing §uidelines'
calculations are not error,_although each party agrees to

Hmaintain its view that the calculations in paragraph ll are

-consistent with.the facts of this case.

nstNnANT's oaticarions
15.- Defendant agrees that.he'willi
nn a) Plead guilty as set_fortn in this agneement.
b) Not knowingly and willfully fail to abide-by all
sentencing sti§ulations contained in this agreement.

--c) Not knowingly and willfully fail to: (i) appear foy
all court'appearances, lii) surrender as ordered for service of
lsentence. (111) obey all conditions of any bond and (iv) obey
any other ongoing court order in this'matter.

d) Not commit any crime; however, offenses which would
be excluded for sentencing purposes under U. S. SN .  § 4A1. 2 {c) ana
not within the scope of this agreement. 7
e) man knowingiy and_wiilfully fail ta`ne truea£ul_ae

all times with Pretrial Services, the U.S. Probationl©ffice, and

the Court.` _
nfl~Pay the applicable special assessment at or befose
the time of sentencing unless defendant lacks the ability to nay

USAO prior to sentencing.
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2.:

and submits a_completed financial statement 4form=OBD»SGO) to tee _

 

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- to and inclnding the time of sentencing,

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, THE Usio's osLIGATIONs`
16. rl£ defendant complies fully with all defendantis`
obligations under this agreement, the USAO-agrees:
al To abide by all sentencing stipulations'contained in
this agreement._ l n
b} st the time of sentencing §royided that defendant
demonstrates an acceptance of responsibility for the often se u§

to recommend a two- level

reduction in the applicable sentencing guideline offense level,

pursuant to UJS<S.G..§;BEl;l, and to recommend and, if necessary;

 

*ll-move for an additional one#level reduction if available under

that.section.
c) Not to seek_a sentence of imprisonment above the

mid-point of the applicable Sentencing %uidelines range.
g 3REACH OF AGREEMENT n
17. If defendant, at any time after tne ex station of this

agreement, knowingly violates or  fails to §er£orm any of

defendant' s agreements or obligations under this agreement (“a

breach”), t he USAO may declare this agreement breac%h ed. la tbe-'

USAO declares this agreement breacbed at any time following its
execution, and the Court finds such a bre ach to have occnrned

then: la)-if defendant has previously entened a guilty §lea;
defendant will not be able to withdraw the guilty §lea, and {b)_

the USAO will be relieved of all of its obligations and er this
agreements
18. Following the Court*s finding of a knowing and williul7

breach of this_agreement by deiendant, should the USAG elect eo_

pursue any charge that was either dismissed or not filed as a_

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l result of this  agreement then:

2 ' a) Defendant- agree-s that any a§§lica§le statu-te of
3Llimitations is tolled between the date of defendant‘s signing'of

this agreement-and the commencement of any such §§osecution7or

` 4
5 action.
6 b} Defendant gives up all defenses §ased on the statute

 

? of limitation-s, any claim-of pre-indictment delay, or any speedy
8 trial claim with respect7to any-each §rosecution, except to the

_9 extent that such defenses existed as of the dat7e of defendant s

l 10 signing this agreement.

LIMITED:MUTUAL.WAIVER OF7APPEAL

 

_12 . '19. Defendant_gives u§ the right to a§§eal any sentence
13 imposed by the Courty and the manner in which the sentence is
714 determined, provided_that (a) the sentence is within the
15 statutory maximum s§ecified above and is constitutional,.and,{§)`
716 the Court imposes a sentence within or below the.range

7171corres§onding to a total offense level §f 26 and the a§§lica§le

18 crimina-l history category as determined §y the Cou-rt.
*19 Notwithstanding the ioregoing, defendant retains any a§ility

20 defendant_has to a§§eal the Courtfs determination of7defendant’e

'2' 3.
22 release imposed by the Court,'with the exception §§ the

criminal history category and the conditions of supervised-

23 following: conditions set forth_in#General Orders 3181 91~%5,

'_24 and/or 05»62 of this-fourt; the drug testing conditions mandaeed

_25 by 18 U.S.C; §§_3563{a}(5) and 3583(d); and the alcohol and drug

267 use coneitions- authorized by 18 o.s;_c. . § 3563:(1:>>7(7').
27 _26, The USAO gives up its §ight to a§§eal the7sentehce,
_ZB.provided that Aa) the sentenoe_ie within the statneoty-maximum

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specified above_and is constitutional, and (b} the Court imposes

a Sentence within or above the range corresponding.to a totai¢

' offense ievel of 26, and the applicabke criminal hiseofy category

as determined by the_Court.
:coURT NoT*A'PARTY

21. _?he Court is not a party to this-agseement and"aeed-aot

"accept aay of the USAO's sentencing recommendations or the

'parties! stipulations. _Even if the Court-ignomes-any sentencing

any stipulation¢ and/or imposes any sentence up'to.%he maximum

*established by statute, de£endantrcanaot, for that neason,

to fulfill all_defendant's obligations unéer this~ag%eemept; No
one 4j not the prosecutor, defenéant's.attorney, or the £ourt_*¢
can_make a binding predietion or promise-regazaing the sentence
oefendant will receive, except that it will be within the 7
atatutory maximam. l '
7 No ADD:TIONAL'AGREEMENTS
22. -Except_as set forth herein, there are`no-pmomisee!

understandings or-agreements between the USAO and-de£eaéant or

defendant's counseli Nor may any-additional'agreement,

understanding or conditioh_be entered into`unless ia[a writing

signed by all parties or on the record in eomrt.
_PLEA-AGREEMENT PART OF THE GUILTY PLEA'HEARING
23. ?he;parties agree'and stipulate that.this A§Leement
will be considered part of the record of defendant?s guilty plea
hearing as`i§ the entire Agreemept had been zead into the reoosd
of the proceediag. l

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recommendationll finds facts or reaches conclusions diffe$ent`from"

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withéxaw defendant's'guilty plea, and defendant~will §emain-bouad_"

 

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3 1‘€5§§@ §:B§Fcr-d°é&'b:s-GHK Documem164 Filed 1_07§2 §3<3§33 33}Dage 15 of1 Pa§3§!Fr_3)3#:§`;f§3

This agreement is effective upon si an acre by cefene¢at ana

1` a
2'an essistant Unitea States Attorney.
3 AG. EED AND ACCEPT£D

41 warren sm'rss ATTOR'N;€Y s oFFz<:y:
uses mae emma ms_i:aicr 09 caizr~eexl.v.

 

 

22 _ _
E'E`HOMAS P. O'BRIEN

6 United S:etes Attorney

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_ . P.// -i c ,»-~» /o».l.z»@‘$

s JEP ‘-P.¢"M ..cHs;.'L _ same
Assistant~United-States Attorney `

lU` 31 have read this agreement and carefully discussed avery

ll_part of in with my at tornay. -Th;s egz ement has been reed-te ge

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v _ _d d

15 My attorney has advised ms of my rights,

-* 33531§;

16 the sentencing_factors set fortn'in_LE.U;S,C. S_

317 relevant 5entencing-Guide§ines provisions, and of the

18'consequences of entering into this agreement . No piomises

9 inc;cements-nave been.given to me other then thesi-eoneaineo`in

 

 

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20 tnis agreemenc. 'No one has threatened oz`forced.me in aay way to

Zl"snter into this.agreement} Pi naliy, I`aa\satisfieé`witn-tne
fi??,representation-of my attorney in chis_eretez.

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` Fr 31-£ };` value 40 /?"'-J?

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FRANCISCC ANDRES~TRANCISCO _ -De?e

25 Defendant

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2 English ad l ianguages. I accurately tra slaz ed cnls
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EVenzlrea greement from English into Ke§§ebal co de£endant
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7 Ir ferprecer Date
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' 5 I am Franc1sco P“d:es- crancisco's accorney. 'I have

9 caref"ly discussed every part cf this-eg-:

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12 U.S-C. § 3553(&3, cf :ne'zel&vanr Sen:enci Guld&lines

and of ake ccnsequ&nces-of enzerlnq ince cnis

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15 thzs agreement is_an 1nformed ana v¢lur ary one-

    

 

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18 unsel for Defendanc - _ \FL
` Francisco Awdr¢¢#£vanrzsco .

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